                       UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION


GLENFORD KENNARD HYATT,                   )
                                          )
                                          )
                     Plaintiff,           )
v.                                        ) CASE NO. 1:21-CV-0221
                                          )
                                          )
M&T BANK,                                 )
                                          )
                                          )
                     Defendant.           )

  MEMORANDUM OF LAW IN SUPPORT OF DEFENDANTS’ MOTION TO
   DISMISS PLAINTIFF’S AMENDED COMPLAINT WITH PREJUDICE
          COME NOW Defendants M&T Bank (“M&T”) and Lakeview Loan Servicing,

LLC (“Lakeview”) (collectively, “Defendants”), by and through their undersigned

counsel, and pursuant to Rule 12 of the Federal Rules of Civil Procedure, file this

memorandum of law in support of their motion to dismiss with prejudice all claims

asserted by Plaintiff Glenford Kennard Hyatt (“Plaintiff”) in his Amended Complaint,

(Doc. 9), stating as follows:

                                  INTRODUCTION
          On February 22, 2021, Plaintiff filed an Amended Complaint, attempting to

remedy his original Complaint’s numerous deficiencies as outlined in Defendants’

February 9, 2021 Motion to Dismiss and supporting memorandum of law. Plaintiff’s

Amended Complaint, however, does no such thing and is just more of the same – an


45102037 v1
incomprehensible factual narrative that is unconnected to, and unable to support, the

bare legal conclusions asserted.

          The only reasonably discernible allegation throughout Plaintiff’s Amended

Complaint is that M&T1 failed to properly respond to his requests for validation of the

subject debt.2 Plaintiff, however, never provides any detail regarding the content of his

alleged correspondence to M&T,3 nor does he provide any detail regarding M&T’s

responses – stating only that said responses were “frivolous” or “non-reasonable.” (Am.

Compl., Doc. 9, pp. 2-3). Moreover, Plaintiff never provides any connective tissue

between M&T’s alleged failing and an actionable claim. In fact, Plaintiff’s Amended

Complaint only references the asserted causes of action in a single, conclusory

paragraph, stating:

          Action: Negligence; Failure to act reasonable;
          Cause: Violation of I, the Plaintiffs, consumer rights, pursuant to Title 15
          USC 1601, Title 15 USC 1602j, Title 15 USC 1692c (in general by
          negligence of non-response), pursuant to Title 1692j (furnishing deceptive
          forms), as, when questioned, Defendant M&T Bank did not act reasonably
          or respond adequate; nor rectify the situation or offer any remedy; nor
          1
       Plaintiff does not plead a single allegation involving Lakeview or its conduct,
nor does he allege how Lakeview could possibly be held liable for M&T’s alleged
conduct. For this most basic reason, Plaintiff’s claims against Lakeview must be
dismissed with prejudice.
          2
       This is a departure from Plaintiff’s original Complaint, which alleged that he
submitted “settlement” rather than “debt validation” correspondence to M&T.
          3
        Plaintiff alleges in his Amended Complaint that he attached the subject
correspondence to his original Complaint, but this is inaccurate.

45102037 v1                                  2
          supply any relevant data requested under penalty of perjury; whereby IAW
          1692c(d) I, the Plaintiff, act as administrator.

(Am. Compl., Doc. 9, p. 4).4

          This sort of conclusory statement makes it impossible for Defendants to

understand the basis for the claims asserted against them and properly formulate a

response thereto. As stated in Defendants’ original motion to dismiss, “[e]ven under

Fed. R. Civ. P. 8(a)’s notice pleading provision and the liberal interpretation given to

pro se pleadings, a complaint must include allegations respecting all material elements

of all claims asserted; bare legal conclusions attached to a narrative of facts will not

suffice.” Martinez v. City of Orlando, No. 6:09-cv-802-Orl-22GJK, 2009 WL 3048486,

at *5 (M.D. Fla. Sept. 21, 2009). Bare legal conclusions is exactly what we have here.

Thus, Plaintiff’s Amended Complaint is, like its predecessor, an impermissible shotgun

pleading and is, for this reason alone, due to be dismissed.

          Even if this were not the case, Plaintiff’s stated claims also substantively fail as

a matter of law.        Specifically, this Court has repeatedly stated that there is no

recognizable claim under Georgia law for negligent mortgage servicing. See Bilal v.

Wells Fargo Bank, No. 1:12-cv-3708-TWT, 2014 WL 814228, at *3 (N.D. Ga. Jan. 15,


          4
        Plaintiff does reference these statutory provisions and a couple of additional
provisions in his simultaneously filed “Memorandum of Law in Support of Plaintiffs
Amended Complaint” (“Complaint Memo”), but he never adequately connects these
purported claims to any factual allegations asserted.

45102037 v1                                   3
2014). Moreover, 15 U.S.C. §§ 1601 and 1602(j) are the “Congressional Findings and

Declaration of Purpose” and “Definition” sections of the federal Truth-In-Lending Act

(“TILA”), and do not in any way create a private right of action. Similarly, 15 U.S.C.

§§ 1692c and 1692j are inapplicable provisions of the federal Fair Debt Collection

Practices Act (“FDCPA”), and Plaintiff has still failed to properly plead that either

defendant is a “debt collector” subject to the Act. For these additional substantive

reasons, Plaintiff’s Amended Complaint is due to be dismissed.

          Finally, Plaintiff’s Amended Complaint should not only be dismissed; it should

be dismissed with prejudice. Plaintiff has now had two chances to state a claim against

Defendants and has not come close either time. Accordingly, Defendants respectfully

request that the Court’s dismissal be with prejudice so that Defendants do not have to

spend additional time, effort or money responding to Plaintiff’s frivolous and harassing

claims.

                        II. MOTION TO DISMISS STANDARD
          Under Fed. R. Civ. P. 12(b)(6), the Court must dismiss Plaintiff’s claims if,

accepting the allegations as true, they fail to state facts that support a claim for relief. In

reviewing a complaint, the Court is “‘not bound to accept as true a legal conclusion

couched as a factual allegation.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting

Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007)). Thus, “[a] pleading that offers

‘labels and conclusions’ or ‘a formulaic recitation of the elements of a cause of action
45102037 v1                                  4
will not do.’” Iqbal, 556 U.S. at 678 (quoting Twombly, 550 U.S. at 555). “Nor does a

complaint suffice if it tenders ‘naked assertion[s]’ devoid of ‘further factual

enhancement.’” Id. (quoting Twombly, 550 U.S. at 557). Instead, “a complaint must

contain sufficient factual matter, accepted as true, to ‘state a claim to relief that is

plausible on its face.’” Id. (quoting Twombly, 550 U.S. at 556-57, 570).

                                    III. ARGUMENT
          A.    Plaintiff’s Amended Complaint is Due to be Dismissed With Prejudice
                as an Impermissible Shotgun Pleading.
          Like its predecessor, Plaintiff’s Amended Complaint should be dismissed for the

preliminary reason that it is an improper shotgun pleading. “The unifying characteristic

of all types of shotgun pleadings is that they fail to one degree or another, and in one

way or another, to give the defendants adequate notice of the claims against them and

the grounds upon which each claim rests.” See Weiland v. Palm Beach Cty. Sheriff’s

Office, 792 F.3d 1313, 1323 (11th Cir. 2015); see also Frantz v. Walled, 513 F. App’x

815, 821 (11th Cir. 2013) (dismissing complaint as a shotgun pleading because there

was “no logical connection between the conclusory statements of legal violations and

the factual allegations” and because of the complaint’s “failure to link factual

allegations to specific counts”).

          The Eleventh Circuit has identified four “categories of shotgun pleadings” as

follows:


45102037 v1                                 5
          The most common type—by a long shot—is a complaint containing
          multiple counts where each count adopts the allegations of all preceding
          counts, causing each successive count to carry all that came before and the
          last count to be a combination of the entire complaint. The next most
          common type, at least as far as our published opinions on the subject
          reflect, is a complaint that does not commit the mortal sin of re-alleging all
          preceding counts but is guilty of the venial sin of being replete with
          conclusory, vague, and immaterial facts not obviously connected to any
          particular cause of action. The third type of shotgun pleading is one that
          commits the sin of not separating into a different count each cause of action
          or claim for relief. Fourth, and finally, there is the relatively rare sin of
          asserting multiple claims against multiple defendants without specifying
          which of the defendants are responsible for which acts or omissions, or
          which of the defendants the claim is brought against. The unifying
          characteristic of all types of shotgun pleadings is that they fail to one
          degree or another, and in one way or another, to give the defendants
          adequate notice of the claims against them and the grounds upon which
          each claim rests.

Weiland, 792 F.3d at 1322-23 (footnotes omitted).

          Plaintiff’s Amended Complaint falls under both the second and third categories

of a shotgun pleading. It contains a single conclusory paragraph purporting to assert

claims for negligence and violation of each of the following federal statutory provisions:

15 U.S.C. §§ 1601, 1602j, 1692c, and 1692j. Plaintiff then sets forth a vague (and

largely incomprehensible) narrative about M&T’s alleged failure to properly respond

to his debt validation correspondence. At no point, however, does Plaintiff’s Amended

Complaint connect M&T’s alleged failure to any of the claims or statutory provisions

referenced -- much less explain how M&T’s conduct satisfies the elements of those

claims. Nor does Plaintiff even mention Lakeview’s involvement or alleged connection

45102037 v1                                   6
to the claims asserted. The end result – as with any shotgun pleading – is that

Defendants are forced to defend a lawsuit without adequate notice of the claims asserted

against them or the basis for those claims.

      The Eleventh Circuit has repeatedly condemned shotgun pleadings of this sort.

See Weiland, 792 F.3d at 1321 (canvassing this Court's “thirty-year salvo of criticism

aimed at shotgun pleadings” and observing “there is no ceasefire in sight”); Paylor v.

Hartford Fire Ins. Co., 748 F.3d 1117, 1125 n.2 (11th Cir. 2014) (citing twenty-one

published opinions condemning shotgun pleadings); Strategic Income Fund, L.L.C. v.

Spear, Leeds & Kellogg Corp., 305 F.3d 1293, 1295 n.9 (11th Cir. 2002) (“This court

has addressed the topic of shotgun pleadings on numerous occasions in the past, often

at great length and always with great dismay.”). And for good reason – they “exact an

intolerable toll on the trial court's docket, lead to unnecessary and unchannelled

discovery, and impose unwarranted expense on the litigants, the court and the court's

parajudicial personnel and resources.” Cramer v. State of Fla., 117 F.3d 1258, 1263

(11th Cir. 1997).

      District courts are authorized to dismiss shotgun pleadings as part of their

inherent authority to control their dockets and ensure the prompt resolution of lawsuits.

See Rice v. Seterus, Inc., No. 7:17-CV-00732-RDP, 2018 WL 4052180, at *2 (N.D.

Ala. Aug. 24, 2018). Generally speaking, when faced with a shotgun pleading, a district

court “should strike the [pleading] and instruct counsel to replead the case—if counsel
45102037 v1                               7
could in good faith make the representations required by Fed. R. Civ. P.

11(b).” Jackson v. Bank of Am., N.A., 898 F.3d 1348, 1357 (11th Cir. 2018) (citation

omitted); see also Rice, 2018 WL 4052180, at *2. Here, however, Plaintiff’s Amended

Complaint should be dismissed with prejudice and without an opportunity to re-plead

because he has already had and failed one such opportunity and because (as

demonstrated below) his claims also substantively fail as a matter of law.

          B.    Plaintiff’s Amended Complaint is Due to be Dismissed With Prejudice
                Because His Substantive Claims Fail as a Matter of Law.

                1.    There is no Recognizable Cause of Action for Negligent
                      Servicing.

          Plaintiff’s negligence claim fails for the simple reason that Georgia does not

recognize a cause of action for negligent mortgage servicing. See Bilal v. Wells Fargo

Bank, No. 1:12-cv-3708-TWT, 2014 WL 814228, at *3 (N.D. Ga. Jan. 15, 2014)

(“Georgia law does not recognize a claim for negligent mortgage servicing.”); Anderson

v. Deutsche Bank Nat’l Trust Co., No. 1:11-cv-4091-TWT-ECS, 2012 WL 3756512, at

*9 (N.D. Ga. Aug. 6, 2012), adopted by 2012 WL 3756435 (N.D. Ga. Aug. 27, 2021)

(noting that the Court was “unable to find any authority recognizing a tort action for

negligent mortgage servicing under Georgia law”); see also Reshaw v. Select Portfolio

Servs., Inc., No. 3:18-cv-00109-TCB-RGV, 2019 WL 5490620, at *10 (N.D. Ga. Jul.

31, 2019).


45102037 v1                                8
          Even if this were not the case (and it is), Plaintiff has also failed to plead any fact

that plausibly establishes the elements of a negligence claim – “ ‘(1) [a] duty or

obligation, recognized by law, requiring the actor to conform to a certain standard of

conduct . . . [;] (2) [a] failure on [Defendants’] part to conform to the standard required[;]

(3) [a] reasonable close causal connection between the conduct and the resulting injury[;

and] (4) [a]ctual loss or damage resulting to the interests of the other.’ ” Reshaw, 2019

WL 5490620, *10 (quoting Brookview Holdings LLC v. Suarez, 645 S.E.2d 559, 562

(Ga. App. 2007)).

          For these additional substantive reasons, Plaintiff’s negligence claim fails as a

matter of law and is due to be dismissed with prejudice.

                2.     Plaintiff Has Not Stated (and Cannot State) a TILA Claim.

          Plaintiff’s Amended Complaint purports to assert claims against Defendants for

violation of sections 1601 and 1602j of the TILA. Neither of those sections, however,

creates a private right of action.         Specifically, section 1601 merely outlines the

“Congressional findings and declaration of purpose” for the TILA; it does not create

any statutory requirements and, therefore, is incapable of providing the basis for civil

liability. See 15 U.S.C. § 1601. Similarly, section 1602(j) merely outlines the definition

of an “open end credit plan” under TILA and likewise provides no basis for civil




45102037 v1                                    9
liability.5 See 15 U.S.C. § 1602(j). For these additional substantive reasons, Plaintiff’s

purported TILA claim against Defendants is due to be dismissed with prejudice.

                3.     Plaintiff Has Not Stated (and Cannot State) an FDCPA Claim.

          To state an FDCPA claim, a plaintiff must sufficiently plead that the defendant

is a “debt collector” as defined by the Act. See Smith v. Specialized Loan Servs., LLC,

No. 1:17-cv-02940-LMM-RGV, 2018 WL 4856039, at *12 (N.D. Ga. Jul. 19, 2018)

(citations omitted).

          To do so, a plaintiff must allege facts plausibly showing that the defendant is a

“debt collector” under the FDCPA and cannot simply conclude as much or recite the

statutory definition. White v. Bank of Am., N.A., 597 F. App’x 1015, 1020 (11th Cir.

2014) (unpublished) (finding that the plaintiffs failed to properly plead that the

defendant was a “debt collector” under the FDCPA where the plaintiffs “alleged no

facts, only a conclusory assertion that McCalla Raymer ‘regularly attempt[ed] to collect

debts’ ”); Carter v. HSBC Mortg. Servs., No. 1:13-CV-3792-RWS-WEJ, 2016 WL

1623911, at *8 (N.D. Ga. Jan. 13, 2016) (“Plaintiff’s unadorned legal conclusion that

MC is a debt collector fails to meet the requirements of Iqbal and Twombly.”); Barber

v. Rubin Lublin, LLC, No. 1:13-CV-0975-TWT-AJB, 2013 WL 6795158, at *9 (N.D.



          5
        There is no allegation that Plaintiff even had an “open end credit plan” as
defined by TILA.

45102037 v1                                 10
Ga. Nov. 19, 2013) (finding that the plaintiff failed to sufficiently plead that the

defendant was a debt collector where he “merely quotes the Act’s definition of a debt

collector and states that Defendant is one. . . .”).

          At no point in his Amended Complaint does Plaintiff mention the Defendants

being “debt collectors” under the FDCPA. And in his simultaneously filed Complaint

Memo, Plaintiff merely states: “Notice, directly proscribed pursuant 15 USC 1692j I

allege nunc pro tunc that the furnisher of any successor or assign, including 3rd party

interloper, attorney, acting for the Defendants are all debt collectors.” (Doc. 9 at 12.)

This is the exact type of conclusory statement that courts have repeatedly found

inadequate to allege that a defendant is a “debt collector” subject to liability under the

FDCPA. For this reason alone, Plaintiff’s purported FDCPA claim against Defendants

is due to be dismissed with prejudice.

          Additionally, none of the FDCPA provisions cited by Plaintiff in his Amended

Complaint relate to (or create a private right of action for) his allegation that M&T failed

to properly respond to his debt validation requests. Specifically, section 1692c outlines

certain types of prohibited debt collection communications, none of which seem to be

at issue here. See 15 U.S.C. § 1692c. Section 1692j prohibits a debt collector from

furnishing deceptive forms, which is likewise unrelated to Plaintiff’s allegations here.




45102037 v1                                11
See 15 U.S.C. § 1692j. And section 1692h6 deals with the unrelated issue of applying

payments when a debtor owes multiple debts. See 15 U.S.C. § 1692h. For this

additional reason, Plaintiff’s purported FDCPA claim against Defendant is due to be

dismissed with prejudice.

               4.    Plaintiff Has Not Stated (and Cannot State) a FCRA Claim.

          Plaintiff purports to assert a FCRA claim under section 1681g(a)(1)7 for

Defendants’ alleged failure to provide certain files requested. Section 1681g(a)(1),

however, only obligates “consumer reporting agenc[ies]” to provide consumer file

documents upon request. See 15 U.S.C. § 1681g(a)(1). The FCRA defines the term

“consumer reporting agency” as “any person which, for monetary fees, dues or on a

cooperative basis, regularly engages in whole or in part in the practice of assembling or

evaluating consumer credit information or other information on consumers for the

purpose of furnishing consumer reports to third parties, and which uses any means or

facility of interstate commerce for the purpose of preparing or furnishing consumer

reports.” 15 U.S.C. § 1681a(f). Significantly, the statutory definition excludes those


          6
        Plaintiff did not reference section 1692h in his Amended Complaint. It was
only referenced in his simultaneously filed Complaint Memo and is addressed here in
an abundance of caution. (See Doc. 9 at 15, Compl. Memo, p. 9.)
          7
        Plaintiff did not reference section 1681g(a)(1) in his Amended Complaint. It
was only referenced in his simultaneously filed Complaint Memo and is addressed here
in an abundance of caution. (See Doc. 9 at 11, Compl. Memo, p. 5.)

45102037 v1                              12
entities that report information “as to transaction or experiences between the consumer

and the person making the report.” See 15 U.S.C. § 1681a(d)(2)(A)(i).

          In light of this exception, courts have repeatedly held that banks and mortgage

servicers like Defendants are not “consumer reporting agenc[ies]” as defined by the

FCRA. See Crane v. New York Mellon, No. 1:12-CV-00103 AWI-GSA, 2012 WL

2620522, at *4 (E.D. Cal. Jul. 5, 2012); see also Mirfasifi v. Fleet Mortg. Corp., 551

F.3d 682, 686 (7th Cir. 2008); Smith v. First Nat. Bank of Atlanta, 837 F.2d 1575, 1579

(11th Cir. 1988); Ware v. Wells fargo Bank, N.A., 1:13-cv-02151-CC-GGB, 2013 WL

12383291, at *3 (N.D. Ga. Sept. 9, 2013) (noting that “a bank is not acting as a CRA

within the meaning of the FCRA where it merely reports information to third parties

based solely on its own experiences with one of its customers”). Even if that were not

the case, Plaintiff has not pled any facts suggesting that Defendants satisfy FCRA’s

definition of a “consumer reporting agency.”

          For these additional substantive reasons, Plaintiff’s FCRA claim against

Defendants is due to be dismissed with prejudice.

                                   IV. CONCLUSION
          Based on the foregoing, Plaintiff’s Amended Complaint fails to properly state a

claim upon which relief can be granted and is, therefore, due to be dismissed with

prejudice.



45102037 v1                                13
          Respectfully submitted, this 8th day of March, 2021.



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                                         LAKEVIEW LOAN SERVICING, LLC




45102037 v1                                14
                        CERTIFICATION OF COUNSEL
      I hereby certify that the foregoing document has been prepared with Times New
Roman, 14 point font, one of the font and point selections approved by the Court in LR
5.1C.



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45102037 v1                              15
                         CERTIFICATE OF SERVICE
       I hereby certify that on March 8, 2021, the foregoing document was mailed via
First Class U.S. Mail, postage prepaid, to the following:

     Glenford Kennard Hyatt
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45102037 v1                            16
